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                      UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF FLORIDA
                                   www.flsb.uscourts.gov

In re:
         Llunaisy Acanda                      Case No. 18-24057-RAM

            Debtor(s).                        Chapter 13
_________________________/

                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the Summary of Schedules

Schedule F and Declaration of schedules was sent to all parties on the attached service

list on September 3, 2019.

Electronically: Nancy K. Neidich, Trustee

First Class Mail:

Debtor(s), Llunaisy Acanda
19600 NW 41st Avenue
Miami Gardens, FL 33055-1862

All Creditors on the Matrix
                                     Respectfully Submitted:

                                     ROBERT SANCHEZ, P.A.
                                     Attorney for Debtor
                                     355 West 49th Street
                                     Hialeah, FL 33012
                                     Tel. 305-687-8008

                                     By:/s/ Robert Sanchez_____________
                                     Robert Sanchez, Esq., FBN#0442161
